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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             WAYCROSS DIVISION




              PAMELA COOPER,
                                    Petitioner,                      CIVIL ACTION NO.: CV5II-040

                             V.

              UNITED STATES OF AMERICA,                               (Case No.: CR592-29)

                                    Respondent.


                                                      ORDER

                       After an independent review of the record, the Court concurs with the Magistrate
              Judge's Report and Recommendation, to which no objections have been filed. Accordingly,
              the Report and Recommendation of the Magistrate Judge is adopted as the opinion of the

              Court.
                       The Motion to Vacate Sentence, filed pursuant to 28 U.S.C. § 2255, is DISMISSED.
              The Clerk of Court is hereby authorized and directed to enter an appropriate Judgment of

              Dismissal.

                       SO ORDERED, this V-1day of                                     '2011.




                                                               HONQRABLEJ. RANDAL HALL, JUDG
                                                               UNITW STATES DISTRICT COURT
                                                               SQUIHERN DISTRICT OF GEORGIA




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(Rev. 8/82)
